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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


    COUNCIL ON AMERICAN‐ISLAMIC                 Case No. 20‐CV‐2195 (NEB/BRT)
    RELATIONS—MINNESOTA     and
    LEAGUE OF WOMEN VOTERS OF
    MINNESOTA,

                      Plaintiffs,
                                                  ORDER ON MOTION FOR
    v.                                           PRELIMINARY INJUNCTION

    ATLAS AEGIS, LLC, ANTHONY
    CAUDLE, and JOHN DOES #1–10,

                      Defendants.



         Plaintiffs Council on American‐Islamic Relations—Minnesota and League of

Women Voters of Minnesota (collectively, the “Voter Organizations”) filed this lawsuit

seeking to enjoin Atlas Aegis, LLC, Anthony Caudle (“Defendants”), and unknown John

Does #1–101 from placing armed agents at polling places in Minnesota for the upcoming

general election. The Voter Organizations moved for a temporary restraining order and

preliminary injunction. (ECF No. 4.) For the following reasons, the Court grants the

motion for preliminary injunction.




1Johns Does #1‐10 have not been identified to this Court or served, and they are not
bound by the injunctive relief granted herein.
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                                    BACKGROUND

      The Voter Organizations are non‐profit civic engagement organizations that work,

among other things, to get out the vote. (ECF No. 1 (“Compl.”) ¶¶ 8–9.) Atlas Aegis, LLC

(“Atlas”), is a private security company that provides security services staffed by

paramilitary personnel; Anthony Caudle is its chairman. (Id. ¶¶ 10–11.) John Doe 1 is an

unknown Minnesota‐licensed private security firm that has allegedly contracted with

Atlas; John Does 2–10 are several unknown parties, members of a “consortium of

business owners and concerned citizens,” who hired John Doe 1. (Id. ¶¶ 12–13, 20.)

      On October 6, 2020, Atlas created a job posting for former special forces personnel

to “protect election polls, local businesses and residences from looting and destruction”

in Minnesota. (Id. ¶¶ 14–23.) After the posting went live, Caudle conducted an interview

with journalists where he discussed the posting and stated that he was planning to send

a “large contingent” of armed agents to Minnesota, and that their goal would be to

prevent “antifa” from destroying election sites. (Id. ¶¶ 25–26.) Caudle said that the armed

agents would step in if there was “an issue,” and that the goal was to prevent a repeat of

property damage from protests that occurred in Minneapolis and Saint Paul following

the death of George Floyd in May 2020. (Id. ¶¶ 27–28.) After publication of Caudle’s

interview, many Minnesota elected officials and members of the public criticized the

plan. (Id. ¶¶ 32–36.) Caudle, despite this criticism, refused to change Atlas’ plans. The

Voter Organizations have since diverted extensive resources to counter the perceived



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effects of Defendants’ actions. (Id. ¶¶ 50–56.) For example, the Minneapolis City Clerk

attests that since news of Caudle’s interview and Atlas’ plans broke: residents have

expressed distress about security and harassment at polling places; polling site

representatives have expressed concern over security, safety, and possible unrest at

polling sites; public officials have sought information on the plans for polling site

security; and two election judges have withdrawn due to concerns for their safety. (ECF

No. 32 ¶ 8.) Likewise, the City of Saint Paul has articulated concern that, if Atlas is not

enjoined from sending paramilitary personnel to the polls, voters will be intimidated,

particularly because Saint Paul has a large population of minority voters who may be

especially likely to be intimidated by Atlas’ armed agents. (ECF No. 24 at 5–7; ECF No.

25‐1 at 1–2.)

       After this motion was filed, but before the scheduled hearing, Minnesota Attorney

General Keith Ellison entered into an Assurance of Discontinuance (the “Assurance”)

with Atlas (but not Caudle). (ECF No. 37‐1 (“Assurance”).) In the Assurance, Atlas stated

that it had misunderstood the parameters of the request for security and that no party

had sought security for the polls on Election Day. (Id. ¶¶ 2–7.) Atlas also admitted that

Caudle had spoken incorrectly with the media and stated that its intent was not to

intimidate, coerce, or threaten voters. (Id. ¶¶ 7–8.) Atlas said that neither it nor any of its

officers or employees were engaged to work in Minnesota in November 2020, nor would

they be present in Minnesota in November 2020; Atlas also stated that it was unaware of



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any groups or individuals that planned to provide election “security” at the polls. (Id.

¶¶ 9–11.) In the Assurance, Atlas (but not Caudle) agreed: (1) not to provide any

protective services, as defined by Minnesota statute, from October 22, 2020, through

January 1, 2022; (2) not to seek to intimidate voters in Minnesota or elsewhere; and (3) to

clarify its job postings that election security was not part of the work. (Id. ¶¶ 13–15.) Atlas

also agreed to a stayed $50,000 civil penalty for violations. (Id. ¶ 17.) Atlas did not admit

to any wrongdoing or violation of any federal or state statute. (Id. ¶¶ 19–21.)

        The Voter Organizations allege that Defendants’ actions have violated and will

continue to violate Section 11(b) of the Voting Rights Act of 1965, which prohibits voter

intimidation. 52 U.S.C. § 10307(b).

                                         ANALYSIS

        The Voter Organizations ask the Court to enjoin Defendants from: (1) deploying

armed agents within 2,500 feet of Minnesota polling places or otherwise monitoring

Minnesota polling places during the general election; (2) threatening to do so; and (3)

intimidating, threatening, or coercing Minnesota voters. (ECF No. 9 at 2.) The Voter

Organizations also seek the disclosure of the identities of the John Doe defendants. (Id.)

   I.      Mootness

        At the outset, the Court must determine whether the Assurance in state court

moots the request for injunctive relief here. The Court concludes that it does not.




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       Article III limits the Court’s jurisdiction to cases and controversies under the

United States Constitution. U.S. Const. art. III, § 2. A case—or a claim for injunctive

relief—is moot (and therefore no longer a case or controversy for Article III purposes)

when the issues it presents are no longer “live” or when the parties no longer possess a

“legally cognizable interest in the outcome.” Teague v. Cooper, 720 F.3d 973, 976 (8th Cir.

2013) (internal quotation omitted).2

       A claim for injunctive relief may become moot if challenged conduct permanently

ceases. Comfort Lake Ass’n v. Dresel Contracting, Inc., 138 F.3d 351, 354 (8th Cir. 1998).

Generally, when there is no “reasonable expectation that the wrong will be repeated,” a

claim for injunctive relief is moot. Id. (internal quotation omitted). Although there is a

higher standard when the defendant’s own voluntary actions have mooted the

controversy, such as when the change in the defendant’s actions is prompted by the threat

of enforcement, the question is whether there is a “realistic prospect that the violations

alleged” will continue to occur notwithstanding the enforcement action. Id. at 355; Mo.

Prot. & Advoc. Servs., Inc. v. Carnahan, 499 F.3d 803, 811 (8th Cir. 2007). “Mere voluntary

cessation of a challenged action does not moot a case. Rather, a case becomes moot if

subsequent events made it absolutely clear that the allegedly wrongful behavior could


2The Court notes that mootness applies to both cases as a whole and particular requests
for relief. See Ohio v. U.S. EPA, 969 F.3d 306, 309 (6th Cir. 2020) (recognizing a distinction
between changed circumstances mooting a case and mooting a motion for preliminary
injunctive relief). Accordingly, changed circumstances can moot a request for injunctive
relief without mooting the whole case.


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not reasonably be expected to occur.” Strutton v. Meade, 668 F.3d 549, 556 (8th Cir. 2012)

(internal quotation and citation omitted). In considering the issue of mootness, courts are

skeptical of claims of mootness where the defendant “yields in the face of a court order”

and argues that the case is moot, but does not admit that the complained‐of conduct was

unlawful. Hartnett v. Pa. State Educ. Ass’n, 963 F.3d 301, 306 (3d Cir. 2020).

       Defendants argue that the Assurance moots the request for injunctive relief

because of its breadth: it enjoins Defendants from “doing anything that could be

potentially viewed as being voter intimidation” and from being physically present in

Minnesota until 2022. (ECF No. 35 at 7.) At argument,3 Defendants asserted that the

Assurance bound all Atlas employees, including Caudle,4 from seeking to intimidate

voters in Minnesota or elsewhere. The Voter Organizations, on the other hand, argued

that the Assurance does not necessarily bind Caudle, that his statements should be

viewed with skepticism, and that he has not publicly disclaimed his earlier comments.

       Here, the Court cannot conclude that Defendants have met their burden to

demonstrate mootness. One Defendant, Atlas, has agreed to a certain scope of restrained

conduct in an agreement with the Minnesota Attorney General. (Assurance ¶¶ 13–15.)




3 Due to the shortened timeline of the case, not all arguments presented were in briefings
filed with the Court.

4Caudle, in an affidavit filed with the Court, stated that he considered himself bound by
the terms of the Assurance. (ECF No. 36 ¶ 2.)


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The Assurance does not moot either the controversy before this Court or the Voter

Organizations’ request for relief.

       First, it is instructive to the Court that Atlas and Caudle had an opportunity for

voluntary cessation when the public and elected officials criticized their planned conduct,

and they chose to instead reaffirm their commitment to sending armed agents to

Minnesota polling places. The behavior stopped only when faced with Attorney General

action, and without any admission by Atlas that its conduct violated the law. “To be sure,

the defendant’s reason for changing its behavior is often probative of whether it is likely

to change its behavior again.” Hartnett, 963 F.3d at 306; see also id. (discussing the

skepticism of courts when the defendant “assures us that the case is moot because the

injury will not recur, yet maintains that its conduct was lawful all along”).

       Second, the Assurance binds only Atlas, not Caudle. (Assurance at 2.) Although

Caudle has indicated that he will abide by the Assurance (ECF No. 36 ¶ 2), his affidavit

is merely a piece of evidence for the Court to consider—it is not determinative, and must

be weighed against Caudle’s prior actions and statements.

       Third, this case contrasts with most of the decided cases in this area. Many cases

mooted in the context of cessation of the alleged unlawful conduct occur because one

party no longer possesses an interest in the case’s outcome—for example, a student who

is no longer in school, e.g., DeFunis v. Odegaard, 416 U.S. 312, 316–20 (1974); an inmate

who is no longer in prison, e.g., Spencer v. Kemna, 523 U.S. 1, 18 (1998); a law that is no



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longer on the books, Teague, 720 F.3d at 976; or a permit that has now been issued. Miss.

River Revival, Inc. v. City of Minneapolis, 319 F.3d 1013, 1015–16 (8th Cir. 2003). Here, in

contrast, the Voter Organizations continue to have a cognizable legal interest in the scope

of the injunctive relief. Their concerns, although partially addressed by the Assurance,

are not entirely covered by it.

         Put another way, the Assurance lacks complete overlap with the requested relief

in this Court. The reach of each court’s jurisdiction is different, the parties are different,

and the language is different. Because it is not clear that the Assurance covers all conduct

that the Voter Organizations seek to enjoin, the Court must conclude, based on the record

before it, that there remains a reasonable expectation that the wrong may continue.

Therefore, the controversy remains live, the Voter Organizations continue to have a

cognizable interest in the outcome, and the request for injunctive relief is not moot.

   II.      Preliminary Injunction

         A preliminary injunction is an extraordinary remedy that “should not be granted

unless the movant, by a clear showing, carries the burden of persuasion.” Mazurek v.

Armstrong, 520 U.S. 968, 972 (1997) (emphasis omitted). In determining whether to issue

injunctive relief, the Court applies the familiar Dataphase factors: (1) the movant’s

likelihood of success on the merits; (2) the threat of irreparable harm to the movant absent

the injunction; (3) the balance of the harms between issuance and nonissuance of the




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injunction; and (4) the public interest. Dataphase Sys., Inc. v. C L Sys., Inc., 640 F.2d 109,

114 (8th Cir. 1981) (en banc).

    A.      Likelihood of Success on the Merits.

         Section 11(b) of the Voting Rights Act prohibits persons from intimidating,

threatening, or coercing, or attempting to do so, those voting, attempting to vote, or

aiding and encouraging others to vote.5 52 U.S.C. § 10307(b). To succeed on the merits of

a claim under Section 11(b), a plaintiff must show that voters were intimidated, or that

there was an attempt to intimidate voters, and that the defendant intended to intimidate

voters.6 Olagues v. Russoniello, 770 F.2d 791, 804 (9th Cir. 1985). To obtain a preliminary

injunction, then, the Voter Organizations must show that it is likely that the Defendants

will attempt to intimidate voters or that their actions will do so, and that they likely have

the intent to do so.




5The Voter Organizations have shown—at this stage—standing to bring this action, as
they have been forced to divert resources form their primary missions in an effort to
counter the Defendants’ actions. (ECF No. 7 ¶¶ 19–21; ECF No. 8 ¶¶ 11–14); Pavek v.
Simon, No. 19‐CV‐3000 (SRN/DTS), 2020 WL 3183249, at *10 (D. Minn. June 15, 2020).
Further, the Voter Organizations have shown—at this stage—standing on behalf of their
members because their missions include efforts to increase voting and civic engagement.
Red River Freethinkers v. City of Fargo, 679 F.3d 1015, 1022, 1027 (8th Cir. 2012); (ECF No. 8
¶¶ 2–7, 13–14.)

6 The Voter Organizations dispute the existence of an intent requirement. (ECF No. 5 at
16–17.) The Court need not determine this conclusively, because the Voter Organizations
have shown sufficient evidence of subjective intent for purposes of issuing a preliminary
injunction.


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       The Voter Organizations have shown both. Caudle told the press that the

personnel were to protect the polls from “antifa,” an organization with a known political

orientation, and that they were to prevent a repeat of the “antifa and Black Lives Matter

protests” that occurred in the wake of George Floyd’s death. (ECF No. 6‐2 at 2–4.) The

presence of armed “guards” at the polls with no connection to state government is

certainly likely to intimidate voters. The record reflects that Minnesota residents have

already expressed substantial concerns about voting in person on Election Day,

Minnesota elected officials have requested information about these activities, and

Minneapolis has lost election judges as a result of Defendants’ conduct. (ECF No. 32 ¶ 8.)

Saint Paul, too, has expressed serious concerns over the actions of Defendants leading to

voter intimidation. (ECF No. 24 at 5–7.)

       As to subjective intent, Atlas’ executive vice president has acknowledged the

threatening presence of its personnel, stating that “armed uniform security personnel will

always look menacing.” (Compl. ¶ 31.) This potential effect is particularly concerning if

the armed agents give themselves discretion to step in when, in their subjective view,

“there is an issue.” (Id. ¶ 27.) And, as Caudle has admitted, the goal of this exercise is to

prevent a repeat of what happened in Minneapolis and Saint Paul when groups of a

certain ideology protested—implying that the aim is at a particular group or groups of

individuals.

       The Voter Organizations have shown a likelihood of success on the merits.



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   B.      Irreparable Injury

        The Voter Organizations have demonstrated that they will suffer irreparable

injury in the absence of injunctive relief. An injury to the right to vote is an irreparable

one because “once the election occurs, there can be no do‐over and no redress.” League of

Women Voters of N.C. v. North Carolina, 769 F.3d 224, 247 (4th Cir. 2014). Defendants do

not contest this point. As organizations that have established standing on behalf of their

members because their members may be intimidated (and their right to vote

consequently injured), the Voter Organizations have established irreparable injury as

well.

   C.      The Public Interest and Balance of the Harms

        The balance of harms and public interest in this case favor issuing a preliminary

injunction. In balancing the harms, the Court assesses the harm the movant would suffer

absent the injunctive relief, as well as the harm other interested parties would suffer if it

issues. Pottgen v. Mo. State High Sch. Activities Ass’n, 40 F.3d 926, 928 (8th Cir. 1994). The

Voter Organizations, as noted above, will suffer continued harm by having to divert

resources to counter the perceived effects of the actions of the Defendants. Voters have a

strong interest in remaining free from intimidation and in the fair and impartial

administration of elections. League of Women Voters of U.S. v. Newby, 838 F.3d 1, 12 (D.C.

Cir. 2016); Craig v. Simon, No. 20‐CV‐2066 (WMW/TNL), 2020 WL 5988497, at *9 (D. Minn.

Oct. 9, 2020). The public, too, has a strong interest in the free and fair conduct of elections,




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because the right to vote is fundamental to the constitutional structure of the nation.

Burdick v. Takushi, 504 U.S. 428, 433 (1992). Conversely, although Defendants have an

interest in conducting their business as contracted, there can be no legally‐protectable

interest in intimidating voters, as the Voting Rights Act makes such conduct unlawful. 52

U.S.C. § 10307(b). Accordingly, the public interest and balance of harms weigh in favor

of injunctive relief.

          After weighing the Dataphase factors, the Court concludes that issuance of a

preliminary injunction is merited because the Voter Organizations have established a

likelihood that they will succeed on the merits of their claims, will suffer irreparable

injury in the absence of injunctive relief, and that the balance of harms and public interest

weigh in favor of an injunction.

   III.      Bond Requirement

          Rule 65(c) permits the Court to issue a preliminary injunction “only if the movant

gives security in an amount that the court considers proper to pay the costs and damages

sustained by any party found to have been wrongfully enjoined or restrained.” Fed. R.

Civ. P. 65(c). In setting security, however, the amount “rests within the sound discretion

of the trial court.” Richland/Wilkin Joint Powers Auth. v. U.S. Army Corps of Eng’rs., 826 F.3d

1030, 1043 (8th Cir. 2016). If the public interest favors it, the Court may waive the bond

requirement. Id. The Court here imposes a bond of $5,000.




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   IV.      John Doe Defendants

         The Court treats the Voter Organizations’ request for disclosure of the identities

of John Does #1–10 as a request for expedited discovery. In considering a motion for

expedited discovery, courts apply one of two standards: either a “good cause” standard,

or one similar to that of a preliminary injunction. E.g., Meritain Health, Inc. v. Express

Scripts, Inc., No. 4:12‐CV‐266‐CEJ, 2012 WL 1320147, *1 (E.D. Mo. Apr. 17, 2012). Although

the Eighth Circuit has not adopted either formulation, courts within it usually apply the

“good cause” standard. Oglala Sioux Tribe v. Van Hunnik, 298 F.R.D. 453, 455 (D.S.D. 2014);

see Bonus of Am., Inc. v. Angel Falls Servs., L.L.C., No. 10‐CV‐2111 (DSD/FLN), 2010

WL 2218574, at *4 (D. Minn. May 28, 2010) (“The court finds that expedited discovery is

warranted in this case.”).

         Under the good cause standard, the party seeking expedited discovery must show

that the need for expediting, “in consideration of administration of justice, outweighs

prejudice to the responding party.” Meritain Health, 2012 WL 1320147, at *1. Common

factors that courts consider include: (1) the existence of a motion for preliminary

injunction; (2) the breadth of the request for discovery; (3) the purpose for the request;

(4) the burden of compliance; and (5) how far in advance of the usual discovery process

the party made the request. Id. at *2.

         Here, the factors weigh in favor of ordering expedited discovery. A motion for

preliminary injunction is pending before the Court. (ECF No. 4.) The discovery request is



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narrow, encompassing only the “available names, telephone numbers, email and mailing

addresses of John Does #1–10.” (ECF No. 9 at 2.) The Voter Organizations seek this

information in order to identify any other potential parties to the suit. Due to the narrow

nature of the request, the burden of compliance is low. Finally, although the request is

made in advance of the usual discovery process, this is not enough to overcome the other

factors.

       There is good cause here to expedite discovery of the information the Voter

Organizations seek. The disclosure of the identities of John Does #1–10 will ensure that

all parties to this case receive proper notice of it through service of process.

                                       CONCLUSION

       Based on the foregoing and on all the files, records, and proceedings herein, IT IS

HEREBY ORDERED THAT:

       1.        The Voter Organizations’ motion for a preliminary injunction (ECF No. 4)

                 is GRANTED;

       2.        An injunction is hereby entered against Defendants as follows:

            a.      Defendants are ENJOINED from: (i) deploying armed agents within

                    2,500 feet of Minnesota polling places or otherwise monitoring

                    Minnesota polling places both during early in‐person voting and on

                    Election Day, November 3, 2020; (ii) threatening to deploy armed agents

                    to Minnesota polling places; and (iii) otherwise intimidating,



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                threatening, or coercing voters in connection with voting activities in

                Minnesota;

          b.    This Order shall take effect immediately and shall remain in effect until

                further order of this Court;

   3.     The Voter Organizations’ request (ECF No. 4) for expedited discovery is

          GRANTED;

   4.     Within 24 hours of receipt of this Order, Defendants shall provide the Voter

          Organizations with all available names, telephone numbers, email addresses,

          and mailing addresses of John Does #1–10, by sending them by electronic mail

          to Julia Dayton Klein at julia.daytonklein@lathropgpm.com.

Dated: October 29, 2020                         BY THE COURT:

                                                s/Nancy E. Brasel
                                                Nancy E. Brasel
                                                United States District Judge




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